Case 2:22-cv-00389-DCN Document 8 Filed 10/21/22 Page 1 of 1

AFFIDAVIT OF SERVICE
Case: Court: County: Job:
2:22-cv-00389- United State District Court District of Idaho - 7654401
DCN Northern Division

Plaintiff / Petitioner:
Cody J. Schueler

Defendant / Respondent:

Four Squarebiz, LLC, a Wyoming Limited Liability Company, Keith O.
Crews, and individual and the associated marital community, Micah
Eigler, and individual and the associated marital community, and
John and Jane Does 1-10

Received by:
Metro Court Services

For:
Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C.

To be served upon:
Keith O. Crews

|, George Folds, being duly sworn, depose and say: | am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of

the contents herein

Recipient Name / Address:

Manner of Service:
Documents:

Additional Comments:

Keith O. Crews, 1503 Scenic Overlook Court, Kennesaw, GA 30152

Personal/Individual, Sep 15, 2022, 7:36 pm EDT

Summons, Complaint, Exhibits

1) Successful Attempt: Sep 15, 2022, 7:36 pm EDT at 1503 Scenic Overlook Court, Kennesaw, GA 30152 received by Keith O. Crews. Age: 55;

Ethnicity: African American; Gender: Male; Weight: 185; Height: 5'8";

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det Gop

George Folds

Metro Court Services
216 N Erwin St
Cartersville, GA 30120

(678)524-7292

Date

Subscribed and sworn to before me by the affiant who Is
personally known to me.

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Notary Public ~ U
4- 7-23

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Date Commission Expires

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